19-13011-jlg        Doc 147       Filed 02/28/20 Entered 02/28/20 14:16:59              Main Document
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                                                                  Adjourned Date: April 2, 2020 at 2:00 p.m.


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Counsel to Ponderosa-State Energy, LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:

PONDEROSA-STATE ENERGY, LLC,                                       Case No. 19-13011 (JLG)

                                    Debtor.                        Chapter 11
-------------------------------------------------------x

                                     NOTICE OF ADJOURNMENT

        PLEASE TAKE NOTICE that all matters scheduled to take place on March 3, 2020 at

2:00 p.m. have been adjourned to April 2, 2020 at 2:00 p.m., or such other date thereafter as

the Court is available, and are scheduled to be held before the Honorable James L. Garrity, Jr.,

United States Bankruptcy Judge for the Southern District of New York, in the United States

Bankruptcy Court for the Southern District of New York, One Bowling Green, Courtroom 601,

New York, New York 10004.


Dated: February 28, 2020                             DIAMOND MCCARTHY LLP
       New York, New York
                                                     /s/ Charles M. Rubio
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